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                   Exhibit B
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From:             Asher, Monica
To:               Saenz, Andres; Levander, Samuel; Kratenstein, Andrew
Cc:               Rosenthal, Jeffrey A.; Schweitzer, Lisa M.; Vicens, Elizabeth (Lisa); Balter, Emily; Mgaloblishvili, Leila; Wright,
                  Katerina
Subject:          RE: In re Application of Vale S.A., Vale Holdings B.V., and Vale International S.A.
Date:             Tuesday, August 3, 2021 3:38:17 PM
Attachments:      Signa Stip re Protective Order (8-3).docx


Andres,

Attached please find a proposed stipulation extending the protective order to include Signa. Please
sign and return and we will sign and file with the Court. We will revert on the proposed search
terms.

You asked us to confirm the scope of the business relationship between SIGNA Holding GmbH and
its affiliates (collectively, SIGNA) and the Benny Steinmetz or its affiliates (collectively, BSG). SIGNA
has confirmed the following:

In 2012, BSG- affiliated companies and SIGNA-affiliated companies established a joint venture in
relation to the investment, holding, and operation of certain properties and operations of the
Karstadt group business, one of the largest German retail and department store companies.

In 2012 and 2013, the BSG/SIGNA joint venture acquired some 20 properties located in Germany,
which were leased to the Karstadt group as main tenant. By agreement signed in September 2013,
the BSG/SIGNA joint venture acquired 75.1 % of Karstadt Premium GmbH and Karstadt Sports GmbH
– both part of the department store business of the Karstadt group – from companies controlled by
Nicolas Berggruen (Berggruen). A call option to acquire 75.1 % of Karstadt Warenhaus GmbH was
also granted to the BSG/SIGNA joint venture. In connection with the same transaction, companies
controlled by Nicolas Berggruen acquired 24.9% of certain Karstadt properties from the BSG/SIGNA
joint venture.

By agreement dated April 30, 2014, the BSG/SIGNA joint venture on the one side and certain
Berggruen companies on the other side agreed to terminate the joint venture in relation to the
holding of Karstadt properties and Karstadt department store operations. As a consequence of this
termination, the department store operations as well as the Karstadt real estate portfolio were fully
taken over by BSG and SIGNA.

The parties to the BSG/SIGNA Joint Venture agreed to terminate the joint venture by agreement
dated December 14/15, 2014. In the context of the termination, the Karstadt real estate portfolio
was split up between the joint venturers. SIGNA took over full ownership of the Karstadt
department store business. The joint venture agreements were terminated effective as of April 9,
2015. Accordingly, the business relationship between SIGNA and BSG ended at that time.

Vale has alleged that BSG or its affiliates invested in the Chrysler Building, which was purchased by
entitles affiliated with SIGNA and RFR Holding LLC in 2019. The Chrysler Building transaction
occurred well after the end of the SIGNA/BSG business relationship. BSG was not involved in the
Chrysler Building transaction and has no investment in the Chrysler Building.
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MONICA S. ASHER
Partner
McDermott Will & Emery LLP One Vanderbilt Avenue, New York, NY 10017-3852
Tel +1 212 547 5706 | Email MAsher@mwe.com
Biography | Website | vCard | Twitter | LinkedIn

Nancy Salzano, Assistant to Monica S. Asher
Tel +1 212 547 5487 | Email nsalzano@mwe.com

** We have moved. Please note our new address (above). **


From: Saenz, Andres <asaenz@cgsh.com>
Sent: Monday, August 2, 2021 11:34 AM
To: Asher, Monica <MAsher@mwe.com>; Levander, Samuel <slevander@cgsh.com>; Kratenstein,
Andrew <AKratenstein@mwe.com>
Cc: Rosenthal, Jeffrey A. <jrosenthal@cgsh.com>; Schweitzer, Lisa M. <lschweitzer@cgsh.com>;
Vicens, Elizabeth (Lisa) <evicens@cgsh.com>; Balter, Emily <ebalter@cgsh.com>; Mgaloblishvili, Leila
<lmgaloblishvili@cgsh.com>; Wright, Katerina <kawright@cgsh.com>
Subject: RE: In re Application of Vale S.A., Vale Holdings B.V., and Vale International S.A.

[ External Email ]
Andrew, Monica,

We wanted to reach out to see whether you had any updates regarding the below. We are happy to
put a meet and confer on the calendar for later this week if that works for you.

-Andres


—
Andres Saenz
Cleary Gottlieb Steen & Hamilton LLP
Assistant: cvalenti@cgsh.com
One Liberty Plaza, New York NY 10006
T: +1 212 225 2804
asaenz@cgsh.com | clearygottlieb.com


From: Saenz, Andres
Sent: Friday, July 23, 2021 3:16 PM
To: Asher, Monica <MAsher@mwe.com>; Levander, Samuel <slevander@cgsh.com>; Kratenstein,
Andrew <AKratenstein@mwe.com>
Cc: Rosenthal, Jeffrey A. <jrosenthal@cgsh.com>; Schweitzer, Lisa M. <lschweitzer@cgsh.com>;
Vicens, Elizabeth (Lisa) <evicens@cgsh.com>; Balter, Emily <ebalter@cgsh.com>; Mgaloblishvili, Leila
<lmgaloblishvili@cgsh.com>; Wright, Katerina <kawright@cgsh.com>
Subject: RE: In re Application of Vale S.A., Vale Holdings B.V., and Vale International S.A.

Andrew, Monica,
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As discussed on our meet and confer on Wednesday, please find below and attached a summary of
the proposed next steps regarding Vale’s Subpoena.

   1. GDPR: Production of documents (electronic and hard-copy) located in the EU on Signa’s
      servers can be made to Cleary’s UK office, applying the same GDPR-compliant methodology
      used by RFR in this same matter. Please confirm whether the EU location is Germany or
      Austria. We attach here the UK adequacy decision discussed on our call. We expect that this
      will enable the speedy transfer of the Memorandum of Understanding, loan documents,
      contracts, and other Steinmetz-Signa joint venture documents that you noted can be
      produced within 30 days of the date of service of the subpoena, and prior to full negotiation
      of search terms on electronic communications (next item below).

   2. Search Terms for E-Comms Review. Please find attached a list of keyword search terms that
      we propose to run across all electronic communications data for the relevant time period
      (2010 to present). For the avoidance of doubt, these terms should not be limited to sender
      and recipient fields, but should be run as full text searches. We are happy to discuss
      modification of search terms based on hit counts should you find that there are large
      numbers of potential false hits.

   3. Written Representations. Please provide to us in writing those representations we discussed
      on the call.

Vale reserves all rights.

Best,

-Andres


—
Andres Saenz
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Assistant: cvalenti@cgsh.com
One Liberty Plaza, New York NY 10006
T: +1 212 225 2804
asaenz@cgsh.com | clearygottlieb.com


From: Asher, Monica [mailto:MAsher@mwe.com]
Sent: Thursday, July 15, 2021 8:49 PM
To: Levander, Samuel <slevander@cgsh.com>; Kratenstein, Andrew <AKratenstein@mwe.com>
Cc: Rosenthal, Jeffrey A. <jrosenthal@cgsh.com>; Saenz, Andres <asaenz@cgsh.com>; Schweitzer,
Lisa M. <lschweitzer@cgsh.com>; Vicens, Elizabeth (Lisa) <evicens@cgsh.com>; Balter, Emily
<ebalter@cgsh.com>; Mgaloblishvili, Leila <lmgaloblishvili@cgsh.com>
Subject: RE: In re Application of Vale S.A., Vale Holdings B.V., and Vale International S.A.

Sam,
    Case 1:20-mc-00199-JGK-OTW Document 152-2 Filed 07/01/22 Page 5 of 8



Our responses are in red below.

MONICA S. ASHER
Partner
McDermott Will & Emery LLP 340 Madison Avenue, New York, NY 10173-1922
Tel +1 212 547 5706 | Email MAsher@mwe.com
Biography | Website | vCard | Twitter | LinkedIn

Nancy Salzano, Assistant to Monica S. Asher
Tel +1 212 547 5487 | Email nsalzano@mwe.com

**We are moving! Effective July 19, 2021, our new address will be:
One Vanderbilt Avenue, New York, NY, 10017 **


From: Levander, Samuel <slevander@cgsh.com>
Sent: Thursday, July 15, 2021 1:04 PM
To: Kratenstein, Andrew <AKratenstein@mwe.com>; Asher, Monica <MAsher@mwe.com>
Cc: Rosenthal, Jeffrey A. <jrosenthal@cgsh.com>; Saenz, Andres <asaenz@cgsh.com>; Schweitzer,
Lisa M. <lschweitzer@cgsh.com>; Vicens, Elizabeth (Lisa) <evicens@cgsh.com>; Balter, Emily
<ebalter@cgsh.com>; Mgaloblishvili, Leila <lmgaloblishvili@cgsh.com>
Subject: RE: In re Application of Vale S.A., Vale Holdings B.V., and Vale International S.A.

[ External Email ]
Andrew, Monica,

Thank you very much for the call earlier this week. We write to follow up on a few points:

     1. You proposed that you would accept service on behalf of Signa Chrysler Holding LLC (“Signa
        US”) if you could have 30 days to respond to the subpoena. We confirm that Vale agrees to
        this proposal.

Signa US will respond to the subpoena by August 16.

     2. Please send us a version of the Protective Order executed by Signa US. Vale will treat Signa
        US as a party to the Protective Order when you do so.

Will do.

     3. Please make any further productions of documents from European servers to Cleary London.
        To confirm, does either Signa US or any other Signa entity have documents on servers in the
        U.S.?

No Signa entity has servers in the US.

Finally, please let us know if you are available for a follow-up call on the scope of Signa’s production
next week. Are you available Wednesday (7/21) between 12pm-2pm or Thursday (7/22) from
1:30pm-4pm?
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Please send an invite for Wednesday.

Best regards,
Sam
—
Samuel Levander
Cleary Gottlieb Steen & Hamilton LLP
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One Liberty Plaza, New York NY 10006
T: +1 212 225 2951
slevander@cgsh.com | clearygottlieb.com


From: Kratenstein, Andrew <AKratenstein@mwe.com>
Sent: Friday, July 9, 2021 11:22 AM
To: Levander, Samuel <slevander@cgsh.com>; Asher, Monica <MAsher@mwe.com>; Eliopoulos,
Elias <eeliopoulos@mwe.com>
Cc: Rosenthal, Jeffrey A. <jrosenthal@cgsh.com>; Saenz, Andres <asaenz@cgsh.com>; Schweitzer,
Lisa M. <lschweitzer@cgsh.com>; Vicens, Elizabeth (Lisa) <evicens@cgsh.com>; Balter, Emily
<ebalter@cgsh.com>; Mgaloblishvili, Leila <lmgaloblishvili@cgsh.com>
Subject: RE: In re Application of Vale S.A., Vale Holdings B.V., and Vale International S.A.

Sam,

We have done some diligence and would like to discuss with you. You have Monica’s and my
availability from our email to Andres.

Andrew

ANDREW B. KRATENSTEIN
Partner
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Tel +1 212 547 5695 | Mobile +1 646 338 4881 | Email akratenstein@mwe.com
Biography | Website | vCard | Twitter | LinkedIn


**We are moving! Effective July 19, 2021, our new address will be:
One Vanderbilt Avenue, New York, NY, 10017 **


From: Levander, Samuel <slevander@cgsh.com>
Sent: Friday, July 9, 2021 10:40 AM
To: Kratenstein, Andrew <AKratenstein@mwe.com>; Asher, Monica <MAsher@mwe.com>;
Eliopoulos, Elias <eeliopoulos@mwe.com>
Cc: Rosenthal, Jeffrey A. <jrosenthal@cgsh.com>; Saenz, Andres <asaenz@cgsh.com>; Schweitzer,
Lisa M. <lschweitzer@cgsh.com>; Vicens, Elizabeth (Lisa) <evicens@cgsh.com>; Balter, Emily
<ebalter@cgsh.com>; Mgaloblishvili, Leila <lmgaloblishvili@cgsh.com>
Subject: RE: In re Application of Vale S.A., Vale Holdings B.V., and Vale International S.A.
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[ External Email ]
Andrew, Monica,

Following up on this – please confirm whether you accept service on behalf of Signa Chrysler Holding
LLC.

Best,
Sam
—
Samuel Levander
Cleary Gottlieb Steen & Hamilton LLP
Assistant: mdigiaro@cgsh.com
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T: +1 212 225 2951
slevander@cgsh.com | clearygottlieb.com


From: Levander, Samuel <slevander@cgsh.com>
Sent: Tuesday, June 29, 2021 7:15 PM
To: Kratenstein, Andrew <AKratenstein@mwe.com>; Asher, Monica <MAsher@mwe.com>;
Eliopoulos, Elias <eeliopoulos@mwe.com>
Cc: Rosenthal, Jeffrey A. <jrosenthal@cgsh.com>; Saenz, Andres <asaenz@cgsh.com>; Schweitzer,
Lisa M. <lschweitzer@cgsh.com>; Vicens, Elizabeth (Lisa) <evicens@cgsh.com>; Balter, Emily
<ebalter@cgsh.com>; Mgaloblishvili, Leila <lmgaloblishvili@cgsh.com>
Subject: RE: In re Application of Vale S.A., Vale Holdings B.V., and Vale International S.A.

Andrew,

Thank you for the quick response. If you agree to accept service, we would be happy to discuss a
reasonable time to respond.

Best,
Sam
—
Samuel Levander
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T: +1 212 225 2951
slevander@cgsh.com | clearygottlieb.com


From: Kratenstein, Andrew <AKratenstein@mwe.com>
Sent: Tuesday, June 29, 2021 6:10 PM
To: Levander, Samuel <slevander@cgsh.com>; Asher, Monica <MAsher@mwe.com>; Eliopoulos,
Elias <eeliopoulos@mwe.com>
Cc: Rosenthal, Jeffrey A. <jrosenthal@cgsh.com>; Saenz, Andres <asaenz@cgsh.com>; Schweitzer,
Lisa M. <lschweitzer@cgsh.com>; Vicens, Elizabeth (Lisa) <evicens@cgsh.com>; Balter, Emily
    Case 1:20-mc-00199-JGK-OTW Document 152-2 Filed 07/01/22 Page 8 of 8


<ebalter@cgsh.com>; Levy, Jennifer <jlevy@cgsh.com>; Mgaloblishvili, Leila
<lmgaloblishvili@cgsh.com>
Subject: RE: In re Application of Vale S.A., Vale Holdings B.V., and Vale International S.A.

Sam,

Monica and I will be handling. I still need to discuss logistics etc. with Signa as we just learned we
are being retained. We expect to do that soon and will get back to you. Will you agree on an
extension to respond if we agree to accept service?

Thanks,

ANDREW B. KRATENSTEIN
Partner
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Tel +1 212 547 5695 | Mobile +1 646 338 4881 | Email akratenstein@mwe.com
Biography |



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certain jurisdictions, and the term "offices" includes offices of those affiliated entities. Our external privacy statement is available at:
https://www.clearygottlieb.com/footer/privacy-statement
